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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          *
                                                  *
                   vs.                            *        Case No. 1:21-cr-00364-DLF-1
                                                  *
ESTHER SCHWEMMER,                                 *
          Defendant                               *
                                                  *

                                               ooOoo

                SECOND CONSENT MOTION TO CONTINUE HEARING

       Esther Schwemmer, by her undersigned counsel, hereby respectfully moves to continue the

hearing to September 28, 2021 to provide additional time for her to consider the plea agreement

offered by the United States and resolve some concerns. Both counsel are available on that date.

Despite due diligence a short continuance is necessary to resolve some issues that remain. The

additional time is likely to result in a non-trial resolution of the case, which will preserve judicial

resources and further the interests of Ms. Schwemmer and the public. Accordingly, the “ends of

justice outweigh the best interest of the public and the defendant in a speedy trial” in order to allow

the defendant additional time to consider the plea agreement. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

                                                       Respectfully submitted,

                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez
                                                       Bar No. MD 03366
                                                       7166 Mink Hollow Rd
                                                       Highland, MD 20777
                                                       240-472-3391
                                                       chernan7@aol.com
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                                CERTIFICATE OF SERVICE

      I hereby certify that the instant notice was served on all counsel of record this 20th day of
September, 2021 on all counsel of record via ECF.



                                                     /s/ Carmen D. Hernandez
                                                     Carmen D. Hernandez




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